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UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

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CHAPTER 13 PLAN (Individual Adjustment of Debts)

 

 

 

 

 

 

[] Original Plan
(mi Second Amended Plan (Indicate Ist, 2nd, etc. Amended, if applicable)
L] Modified Plan (Indicate Ist, 2nd, etc. Modified, if applicable)
DEBTOR: Sunilda Suarez Ruiz JOINT DEBTOR: CASE NO.: 17-25172-RAM
SS#: xxx-xx- 7043 SS#! XXX-XX-
I. NOTICES
To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans

and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated.

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph VII. Debtor(s) must check one
box on each line listed below in this section to state whether the plan includes any of the following:

 

 

 

 

 

 

 

 

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Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set [] inehided fll Motinelnded

out in Section HI

Nonstandard provisions, set out in Section VIII [m] Included [_] Not included
I. PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

 

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

 

 

1. $312.41 formonths 1 to 2 __
2. $327.87 formonths 3 to 60 ;
B. DEBTOR(S)' ATTORNEY'S FEE: [] NONE [7] PRO BONO
Total Fees: $4175.00 Total Paid: $1291.00 Balance Due: $2884.00
Payable $169.65 /month (Months 1 to 17 )

Allowed fees under LR 2016-1(B)(2) are itemized below:
$3,500.00 + $500.00 (MTV) + $175.00 (Costs) = $4,175.00

 

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
HI. TREATMENT OF SECURED CLAIMS

A. SECURED CLAIMS: [ii] NONE

[Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:

B. VALUATION OF COLLATERAL: [7] NONE
IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
SECURING YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED UPON
YOU PURSUANT TO BR 7004 AND LR 3015-3.

 

1. REAL PROPERTY: [il] NONE
2. VEHICLES(S): [7] NONE

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IV.

VI.

VIL.
VOI.

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Debtor(s): Sunilda Suarez Ruiz

 

Case number: 17-25172-RAM

 

1. Creditor; Compass Financial Feu

 

Address: Po Box 160580
Hialeah, FL 33016

 

Last 4 Digits of Account No.: 0003
VIN: 5J6RM3H30CL015851

 

Description of Collateral:
2012 Honda CRV

 

 

Check one below:

on incurred 910 days or more pre-
petition

poem incurred less than 910 days pre-
petition

 

Value of Collateral:

Amount of Creditor's Lien:

Interest Rate: 5.25%

$11,250.00
$14,108.00

 

Total paid in plan:

$111.52

$253.96

Payment
$12,816.12

/month (Months _1 to 17)

/month (Months 18 to 60 )

 

3. PERSONAL PROPERTY: [mf] NONE

Oo

LIEN AVOIDANCE [mi] NONE

D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
distribution fom the Chapter 13 Trustee.

(] NONE

E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution

fom the Chapter 13 Trustee.
[i] NONE

TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]

A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE: {m] NONE
B. INTERNAL REVENUE SERVICE:

[mi] NONE

C. DOMESTIC SUPPORT OBLIGATION(S): [if] NONE

D. OTHER: [ii] NONE

TREATMENT OF UNSECURED NONPRIORITY CREDITORS

A. Pay
Pay

$13.91
$41.12

/month (Months 3

/month (Months 18

to17 )
to. 60_)

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

B. [7] If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.

C. SEPARATELY CLASSIFIED:

[im] NONE

*Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority

creditors pursuant to 11 U.S.C. § 1322.

EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
section shall not receive a distribution from the Chapter 13 Trustee.

[li] NONE

INCOME TAX RETURNS AND REFUNDS: [il] NONE

NON-STANDARD PLAN PROVISIONS [|] NONE
(@) Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.

If the debtor receives gambling winnings during the pendency of the plan the debtor shall turn over any gross winnings to the
Chapter 13 Trustee for the benefit of the unsecured creditors.

[-] Mortgage Modification Mediation

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PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 

 

Debtor Joint Debtor
Sunilda Suarez Ruiz Date Date
/s/ Patrick L. Cordero, Esq. 02/19/2018
Attorney with permission to sign on Date

Debtor(s)’ behalf

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph VIII.

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